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Name: __________________________________                                       JUROR # ______________



                                       JUROR QUESTIONNAIRE

TO THE PROSPECTIVE JUROR:

       You have been summoned by this Court for jury service in a criminal case entitled United States

v. Elizabeth Holmes. In this case, the defendant, Elizabeth Holmes, is charged with wire fraud and

conspiracy to commit wire fraud. The indictment alleges that Ms. Holmes was the Chief Executive

Officer (“CEO”) of Theranos, Inc., which was in the blood testing business. The indictment alleges that

the defendant and Ramesh “Sunny” Balwani, Theranos’ Chief Operating Officer (“COO”) and

President, knowingly and intentionally devised a scheme or plan to defraud investors in Theranos and

paying customers of Theranos. The charges are only allegations and not evidence. The defendant has

entered a plea of not guilty to all of the charges in the case and is presumed to be innocent. It will be the

responsibility of the government, through the trial, to prove those charges beyond a reasonable doubt.

       As part of the jury selection process, each of you must complete this juror questionnaire. The

questions on this form assist the Court and the attorneys in the jury selection process for this trial. This

questionnaire is designed to obtain information about your background as it relates to your service as an

unbiased, fair, and impartial juror in this case.

       Unless the question states otherwise, the fact that a particular question is asked does not imply

that the subject matter of the question is an issue in this case. As you read the questions, you are not to

draw any inferences about the issues that must be decided in this case. The questions are not meant to
invade your privacy but to help select a fair and impartial jury for this case.

       If there is any reason why you might not be able to give both sides a fair trial in this case, it is

important to say so. Please answer each question as fully as you can. Your complete honesty is

essential. Do not leave any questions blank. If a question does not apply to you in any way, write

“N/A” (for “not applicable”), rather than leaving the form blank. If you do not understand the question,

please write that in the space for the answer. If you feel the answer is too personal, please say so in the

space provided. You will have the opportunity to discuss your answer privately. If you do not

understand a question, need more space for your response, or wish to make further comments about any
question, please use the extra sheets attached at the end of the questionnaire. If you use the explanation

sheets, please make sure to indicate which numbered question you are answering.
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                                                              JUROR # ______________



       The only purpose of this questionnaire is to determine whether, if selected as a juror, you could

fairly and impartially decide this case based solely on the evidence presented at trial and the instructions

about the applicable law that will be given by the Court. The Court and the lawyers know that every

person has beliefs and biases concerning many things. You should answer with your true feelings,

whatever they may be. Do not assume that any of your answers will qualify you or disqualify you from

serving on this jury.

       You are instructed not to discuss this case or questionnaire with anyone, including your

family or fellow jurors. It is also important that you do not engage in any research such as

searching for stories or reports on the internet or social media about this case or anyone or

anything to do with it. You must not read or listen to any media accounts whether in a

newspaper, on the internet, on television, or on the radio. Do not discuss or post anything about

this case on any electronic or social media, including Facebook, You Tube, Twitter, Reddit,

Instagram, LinkedIn, Snapchat, TikTok, email, text message, any blog, website or chat forum or

any other media of any kind. You must not let anyone, including friends and family, court

personnel, parties or persons involved in the case talk to you about your views or any aspect of

this case until the court has so instructed you to do so.

       Your answers are confidential. It is important that you understand that the Court is sensitive to

your privacy. They will be reviewed by the Judge and the lawyers in this case. After a jury has been
selected the original questionnaire will be returned to the Clerk of the Court and kept under seal and will

only be disclosed, if at all, with names and other identifying information removed.

       Upon completion, please sign your name on the last page where indicated. You are expected to

sign your questionnaire, and your answers will be given the same effect as a statement given to the

Court under oath.

Dated: 8/12/2021

                                                      Hon. Edward J. Davila
                                                      United States District Judge




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                                                            JUROR # ______________



                                      PRELIMINARY MATTERS

1. The trial in this case may last approximately thirteen (13) weeks, or even longer. The jury will

   generally sit three (3) days per week (Tuesdays, Wednesdays, and Fridays), potentially from

   9:00am to 3:00pm, during that time. Jury service is one of the highest duties and privileges of a

   citizen of the United States. Mere inconvenience or the usual financial hardship of jury service will

   be insufficient to excuse a prospective juror. Do you wish to apply to the Court to be excused on

   the ground that jury service would be a serious hardship?

  ____ Yes           ____ No        If Yes, please explain the hardship: ________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


2. Do you have any condition or issue that would affect your ability to serve as a juror, including

   difficulty hearing, seeing, reading, or concentrating?

  ____ Yes           ____ No

  If you feel you could serve with accommodations, please indicate the accommodations:

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


3. Have you been vaccinated against COVID-19 or are you scheduled to be vaccinated?

  ____ Yes           ____ No


4. Have you already contracted COVID-19? ____ Yes           ____ No

   If Yes, are you fully recovered (no symptoms) and have you received a negative test result since

   recovering?       ____ Yes       ____ No


5. If called to serve as a juror, how concerned are you about getting sick with COVID-19?



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                                                            JUROR # ______________



6. If called to serve as a juror, how comfortable are you being in a large courtroom with 20-30 people?

  _______________________________________________________________________________


7. Is there any reason relating to the COVID-19 pandemic that would make jury service an undue

   hardship for you or anyone in your household?

  ____ Yes            ____ No         If Yes, please explain: ___________________________________

   ________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


8. Is there anything else going on in your life or work that would prevent you from giving this case

   your full attention for the duration of trial?

   ____ Yes           ____ No         If Yes, please explain: ___________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


9. Will your employer continue to pay your salary if you are selected to serve on this jury?

   ____ Yes           ____ No         ____ Not Sure         ____ I do not have an employer


10. Do you have any difficulty reading or understanding English?

    ____ Yes          ____ No

                                              BACKGROUND


11. NAME:                                               Dr. Mr. Mrs. Ms. Miss       Age:__________

12. Residence: County:                 City/Town:                   Neighborhood:
                                                                    [Do not list your street address]
      How long have you lived at that location?

      Your place of birth:
      Do you own or rent your home? (Circle)                Rent____       Own____ Other




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                                                            JUROR # ______________



      What other communities have you lived in during the last ten years?




13. If called to serve as a juror, how will you commute to the courthouse?

14. What is your marital status? (Please Circle)

      Single      Married     Separated     Divorced       Widowed      Live with a partner

15. What is your current job status?

               Working full-time                      Unemployed

               Working part-time                      Homemaker

               Retired                       ______ Disabled

      _______Full-time student, please indicate areas of study________________________________

      _______Other, please describe____________________________________________

16. Occupation:       [PLEASE NOTE: If you are currently not employed, retired, disabled or a
                              homemaker, please describe your most recent prior employment]

      a.       What is your occupation (or what was it, if not currently employed)?


      b.       By whom are (were) you employed?

      c.       How long have (did) you worked there?
      d.       Please describe the nature/duties of your job.

      e.       Do (Did) you supervise other people? What are/were your supervisory responsibilities?

               ____ Yes       ____ No         If so, how many? ______________

               Responsibilities: __________________________________________________________

17. During your working life have you changed careers or occupations and, if so, please describe?




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                                                            JUROR # ______________




18. Have you ever had a job which was considered management?        ____ Yes      ____ No _____

   If Yes, describe that position with specifics of your role and how many people you managed?

   ______________________________________________________________________________

   ______________________________________________________________________________

   ______________________________________________________________________________


19. What is the highest level of education you completed? ___________________________________

20. Please describe your educational background:

   School Name                      Major areas of study           Degrees received




21. Have you taken any courses or had training in law, legal procedure, or administration of justice?

   ____ Yes          ____ No        If Yes, please explain: ___________________________________




22. Please complete the following questions regarding your present spouse/partner. If you are

   widowed, divorced, or separated, please answer regarding your former spouse/partner.

    Current employment status:

           Working full-time                        Unemployed

           Working part-time                        Homemaker

           Retired                                  Full-time student
    _____ Disabled


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                                                              JUROR # ______________



  a. What is his/her occupation (or what was it, if retired or unemployed or disabled)?



  b. By whom is (was) s/he employed?

      How long has (did) s/he worked there?

  c. Please describe the nature of his/her job, was it management or supervisorial?



  d. What other types of jobs has s/he had in the past?




23. What is the highest level of education s/he completed? ________________________________

   Please describe her/his educational background, including vocational school(s) and/or college(s)

   attended:

  School Name                         Major areas of study                      Degrees received




24. What are/were your parents’ and/or stepparents’ occupations? (If retired or deceased, what was

   their employment?)
   Mother:                                Father:

   Stepmother:                                      Stepfather:


25. If you have children, please state:

   Sex         Age    Education                                   Occupation or Year in school




                                                        7
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                                                             JUROR # ______________



26. If other adults live in your home in addition to those you already described above, please state:

    Relationship         Sex   Age           Education              Occupation




27. Have you or anyone close to you received any training, experience, or specialized knowledge or

    worked in any of the following? Please check the box that applies and provide an explanation
    below:
             Sector             Yes, Me           Yes, Family         Yes, Someone             No
                                                   Member              Close to Me
             Finance

       Investing; Private
        Equity; Startups;
        Venture Capital

       Health Insurance

       Healthcare; Health
            Services

         Blood Testing

        Pharmacology;
          Pharmacy;
        Pharmaceuticals



    If you indicated Yes with a check mark to any of the above, please provide detail: ______________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________




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                                                             JUROR # ______________



28. Have you or anyone close to you ever served in the military (including Reserves, National Guard or

    ROTC)?

    ____Yes            ____No

    If Yes, please list the branch, years of service, rank attained, type of discharge, and whether you,

    your family member, or person close to you served in a military police unit, court martial, and/or

    were in combat: __________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________


29. What are you and your spouse’s/partner’s hobbies, major interests, recreational pastimes, and spare

    time activities?

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________




                                       Continue on the next page.



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                                                               JUROR # ______________



                                            LIFE EXPERIENCE

30. Have you or anyone close to you (as far as you are aware) had any of the following experiences?

      Please check the box that applies and then provide an explanation below.

            Experience            Yes, Me          Yes, Family        Yes, Someone             No
                                                    Member             Close to Me
        Worked in any field
        that involves blood
       tests, doctor’s tests or
         other medical care

          Had any work
         experience with
         pharmacies (ex.
         Walgreens; CVS;
          Safeway; etc.)

       Received any form of
        medical treatment,
          vaccine, test or
           diagnosis in a
         pharmacy and/or
           grocery store

        Been involved in a
           dispute about
           misdiagnosis,
       payment for medical
       treatment, or quality
           of treatment,
            including a
        malpractice dispute



      If you answered Yes to any of the questions above, please provide detail: ______________________

      _________________________________________________________________________________

      _________________________________________________________________________________

      _________________________________________________________________________________


31.    a. Have you or anyone close to you ever been employed by, had training in, or have been affiliated

       with any law enforcement or other state or federal government agency (including police, sheriff,
       corrections, parole or probation, FBI, Immigration, IRS, Securities and Exchange Commission

       (SEC), Food and Drug Administration (FDA), Department of Health and Human Services (HHS),

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                                                            JUROR # ______________



     Centers for Medicare & Medicaid Services (CMS), U.S. Postal Inspection Services, CA Dept. of

     Public Health, Clinical Laboratory Improvement Amendments (CLIA), or any other state or

     federal regulatory law enforcement agency)?

    ____ Yes          ____ No         If Yes, please identify who, when, and describe the position(s):

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________


    b. Have you or anyone close to you ever worked for a court, prosecutor’s office, or criminal

     defense office? This includes a judge, District Attorney’s office, United States Attorney’s office,

     State Attorney General, or any private or public criminal defense attorney’s office?

    ____ Yes          ____ No         If Yes, please explain: ___________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________


32. Have you or anyone close to you ever been the victim of any kind of crime – including domestic

    violence, burglary, robbery, assault, identity theft, fraud etc. – whether it was reported to law

    enforcement authorities or not?

   ____ Yes           ____ No         If Yes, please explain:____________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________


33. Have you ever called the police because of a crime or concern about illegal or dangerous activity?

    ____ Yes          ____ No         If Yes, please explain: ___________________________________




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                                                            JUROR # ______________



                                                  MEDIA

34. What are your main sources of news/current events? Please list those that fall into the categories

   below. If you need more space for any category or other answer, please use additional lines below.

   Newspapers:               __________________________________________________________

                             __________________________________________________________

   Social Media:             __________________________________________________________

                             __________________________________________________________

   Television:               __________________________________________________________

                             __________________________________________________________

   Radio:                    __________________________________________________________

                             __________________________________________________________

   Internet:                 __________________________________________________________

                             __________________________________________________________

   Conversations:            __________________________________________________________

                             __________________________________________________________

   Other:                    __________________________________________________________

                             __________________________________________________________

                             __________________________________________________________
                             __________________________________________________________

                             __________________________________________________________



35. Have you commented on, “liked,” posted or, tweeted anything on social media about or relating to

   Elizabeth Holmes, Ramesh “Sunny” Balwani, or Theranos?

  ____ Yes ____ No           If Yes, please explain: _______________________________________

  ______________________________________________________________________________

  ______________________________________________________________________________
  ______________________________________________________________________________


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                                                             JUROR # ______________



36. Do you read, listen to, follow, or subscribe to any of the following individuals on blogs, podcasts,

    social media, or in any other way? If Yes, please circle the applicable individuals.

    John Carreyrou            Roger Parloff                 Adam Klasfeld                  Ethan Barron

    Chuck Barney              Yasmin Khorram                Sara Randazzo                  Tom Hals

    Matthew Renda             Ken Auletta                   Kara Swisher                   Eric Topol

    Matthew Herper            Rebecca Jarvis                Joel Rosenblatt


37. Have you read, watched, listened to, or been told of any of the following? Please circle:

    Bad Blood by John Carreyrou                             HBO’s The Inventor
    ABC News’ The Dropout Podcast                           ABC News’ The Dropout Documentary

    ABC News 20/20 on Theranos                              Thicker Than Water by Tyler Shultz

    “60 Minutes on Theranos”

    TED Talk: Theranos, Whistleblowing and Speaking Truth to Power by Erica Cheung


    If Yes, please explain: _____________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________


38. Have you read, watched, listened to, or been told of any book, story, magazine article, television

    program or documentary that touched on or talked about this case? ____ Yes             ____ No
   If Yes, please explain, include where you saw any such item. Please explain: _________________

   _________________________________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________


39. Will anything you described above affect your ability to be fair and impartial to both sides in this

    case?      ____ Yes       ____ No          Please explain: ___________________________________
    ________________________________________________________________________________

   _________________________________________________________________________________

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                                                            JUROR # ______________



                                  FAMILIARITY WITH THE CASE

40. Do you know or have you heard about the defendant, Ms. Elizabeth Holmes?

   ____ Yes           ____ No       If Yes, please explain how you know Ms. Holmes, or what you

   have heard about her, and the source of anything you know or have heard about her:

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


41. Do you have familiarity with or have you heard about Theranos, Mr. Ramesh “Sunny” Balwani, or
   this case?

  ____ Yes           ____ No        If Yes, please explain what you know/have heard and the source:

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


42. Have you or anyone close to you ever been employed by or applied to work at Theranos?

   ____Yes           ____No

   If Yes, what were the positions and approximate dates of employment: _______________________

   ________________________________________________________________________________

  ________________________________________________________________________________



43. Have you or anyone close to you owned securities or interests or invested in Theranos or used its

   blood testing services?

  ____Yes       ____No       If Yes, please explain: _________________________________________

   ________________________________________________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________


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                                                            JUROR # ______________



44. Have you or anyone close to you had any prior experience with Theranos, Ms. Holmes, or Mr.

   Balwani?

  ____Yes       ____No        If Yes, please explain: _________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________



45. Do you or to your knowledge do your friends or family members have strong opinions or feelings

   about either Ms. Holmes or Mr. Balwani, that would influence your ability to be a fair and impartial

   juror in this case?

  ____Yes       ____No        If Yes, please explain: _________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


46. A list is attached to the end of this questionnaire. Please circle the name of any of the listed people

   that you personally know.

   Please explain how you recognize or know the individual(s) whom you have circled:

   ________________________________________________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________




                                       Continue on the next page.



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                                                            JUROR # ______________



                                 EXPERIENCE WITH LEGAL SYSTEM

47. Have you previously served as a trial juror or as a grand juror? ____ Yes      ____No

  If Yes, please complete for each case on which you served:


                                                                                              Verdict
        Civil         Nature of case (i.e., robbery or personal                               reached?
        or Criminal   injury)                                     When/Where?                 (yes or no)
   1




   2




   3




   4




   5




  a. Have you ever served as a jury foreperson? ____Yes ____No

  b. Is there any reason that your prior jury service would affect your ability to be fair, objective, and

       impartial to both sides in this trial? ____Yes ____No        If Yes, please explain:
       _____________________________________________________________________________
       ______________________________________________________________________________

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                                                            JUROR # ______________



48. Have you or anyone close to you ever had occasion to contact the United States Attorney’s Office

   or the District Attorney’s Office, including the Family Support, Consumer Fraud or Victim/Witness

   Divisions?

  ____Yes       ____No       If Yes, please explain: _________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


49. Have you or anyone close to you ever had to appear or testify as a plaintiff, defendant, victim, or
   witness?

   ____Yes       ____No      If Yes, please explain: _________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


50. Have you or anyone close to you ever been arrested? If you wish to speak privately with the court

   and attorneys please indicate.

    ____Yes       ____No     If Yes, please explain: _________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________



51. Have you or anyone close to you ever suffered a substantial monetary loss because of a financial

   investment, including stocks, real estate, or business?
  ____Yes       ____No       If Yes, please explain: _________________________________________

  _________________________________________________________________________________


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                                                            JUROR # ______________



  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


52. Have you ever reported someone for wrongdoing to your employer or a government agency?

   ____Yes        ____No     If Yes, please explain: _________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


53. Have you or anyone close to you even been accused of fraud or of fraudulently concealing

   information?

   ____Yes        ____No     If Yes, please explain: _________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


54. Is there anything about your experiences, opinions, or beliefs about race, color, immigration status,

   national origin, ethnicity, gender, or sexual orientation which would strongly influence your ability

   to judge the facts of a criminal case or the person accused?
   ____Yes        ____No     If Yes, please explain: _________________________________________

   ________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

55. Is there anything about your personal beliefs, whether religious, moral, ethical, or philosophical,

   that would prevent you from serving as a juror in a criminal case?

  ____Yes       ____No       If Yes, please explain: _________________________________________
  _________________________________________________________________________________

  _________________________________________________________________________________
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                                                            JUROR # ______________



  _________________________________________________________________________________

56. If you are selected as a juror in this case, the court will instruct you on the applicable law and your

   duties as jurors. Will you be able to follow these instructions even if you disagree with them?

  ____Yes       ____No        Please explain: _______________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________

  _________________________________________________________________________________


57. In our justice system, every defendant is presumed innocent and must be acquitted unless the jury,
   unanimously and based solely on the evidence presented in court, decides that guilt has been proven

   beyond a reasonable doubt. Do you believe that simply because a person has been charged with a

   crime, that person:

   Is Guilty                                         

   Is Not Guilty                                     

   Probably Is Guilty                                

   Don’t Know                                        

   Please explain: ___________________________________________________________________



   ________________________________________________________________________________


58. In a criminal prosecution the government has the burden of proving guilt beyond a reasonable

   doubt. The defendant is presumed innocent; and therefore, has no burden to present any evidence.

   Do you believe that a defendant has an obligation to prove his/her innocence or produce any

   evidence in order to be found not guilty?

  ____Yes       ____No        If Yes, please explain: _________________________________________

   ________________________________________________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________


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                                                            JUROR # ______________



59. Under the law, a defendant need not testify in his or her own defense. If a defendant does not

    testify, the jury may not consider that fact in any way in reaching a decision as to whether that

    person is guilty. Do you believe that a defendant must testify in order to be found not guilty?

   ____Yes       ____No       If Yes, please explain: _________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________

    ________________________________________________________________________________


60. Have you or anyone close to you ever had a positive or negative experience with a law enforcement
    officer or agency, federal agency, or the federal government which would influence your ability to

    judge the facts of a criminal case or the person accused?

    ____ Yes          ____ No        Please explain:

    ________________________________________________________________________________

    ________________________________________________________________________________



61. During the trial, you may hear testimony from law enforcement officers. The judge will instruct you

    that the testimony of a witness should be given no more or less weight solely because the witness is

    a law enforcement officer. Despite that instruction, would you tend to give the testimony of a law
    enforcement officer any more or less weight than you would to the testimony of a witness who is

    not a law enforcement officer?

   Less weight                

   Same weight                

   More weight                

   Please explain: ____________________________________________________________________

   _________________________________________________________________________________
   _________________________________________________________________________________




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                                                            JUROR # ______________



62. If you are selected to sit as a juror on this case, are you aware of any reason why you could not

   render a verdict based solely on the evidence presented at trial?

  ____Yes       ____No        If Yes, please explain: _________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


63. As a juror it is important that you do not obtain information about this case outside of the

   courtroom. The Court will instruct you that: Because you will receive all the evidence and legal
   instruction you properly may consider to return a verdict: do not read, watch, or listen to any

   news or media accounts or commentary about the case or anything to do with it, do not do any

   research, such as consulting dictionaries, searching the Internet or using other reference materials;

   and do not make any investigation or in any other way try to learn about the case on your own. Do

   not visit or view any place discussed in this case, and do not use the Internet or any other resource

   to search for or view any place discussed during the trial. Also, do not do any research about this

   case, the law, or the people involved—including the parties, the witnesses or the lawyers—until you

   have been excused as jurors. If you happen to read or hear anything touching on this case in the

   media, turn away and report it to me as soon as possible. Will you be able to follow this instruction?

   ____Yes       ____No       Please explain: _______________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


64. Judge Davila will preside over this trial. His courtroom deputy is Ms. Adriana Kratzmann. His

   court reporter is Ms. Irene Rodriguez. Do you know Judge Davila or any members of his staff?

  ____Yes       ____No        If Yes, please explain: _________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________


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                                                            JUROR # ______________



   ________________________________________________________________________________


65. Is there anything about the subject matter of this case, or the points covered in this questionnaire, or

   any matter not covered by this questionnaire, which creates a question in your mind as to whether

   you can be a fair, objective, and impartial juror in this particular case?

  ____Yes       ____No        If Yes, please explain: _________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________

   ________________________________________________________________________________


66. Is there any matter you wish to discuss privately with the Judge?

   ____ Yes           ____ No         If Yes, please explain:_________________________________

   _______________________________________________________________________________

   _______________________________________________________________________________

   _______________________________________________________________________________


67. Is there anything else the attorneys or the Court might want to know about you when considering

   you as a juror in this case?

   _______________________________________________________________________________

   ________________________________________________________________________________
   ________________________________________________________________________________

   ________________________________________________________________________________


68. Did you have any problems reading or understanding this questionnaire?

  ____Yes ____No              If Yes, please explain:

  ________________________________________________________________________________

  ________________________________________________________________________________
  ________________________________________________________________________________



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                                           JUROR OATH


I declare under penalty of perjury that the answers set forth in this Jury Questionnaire are true and
correct to the best of my knowledge and belief. I have not discussed the questions or my answers with
others. I have not received assistance in completing this questionnaire.

Signature:

Print Name:

Date:




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Further Explanation Sheet
(Please put the question number next to your response. Thank you)




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                                                ATTACHMENT

Please circle the name of any of the listed people that you personally know:

Attorneys

      Prosecuting Attorneys:
      Jeff Schenk
      John C. Bostic
      Robert S. Leach
      Kelly I. Volkar
      Stephanie Hinds
      Hallie Hoffman
      United States Attorney’s Office, Northern District of California

      Defense Attorneys:
      Kevin M. Downey
      Lance Wade
      Amy Mason Saharia
      Katherine Trefz
      John C. Cline
      Seema Roper Mittal
      Andrew Lemens
      Patrick Looby
      Jean Ralph Fleurmont
      Michelle Chen
      Richard S. Cleary, Jr.
      Williams & Connolly LLP

Possible Witnesses

      Govind Acharya                             Sheri Ackert                  Robert Amenta
      Peter Anderson                             Samartha Anekal               Brad Arington
      Gerald Asin                                Carolyn Balkenhol             Riley Bechtel
      Stacey Beck                                Matthew Benedetto             Sarah Bennett
      Renee Binder                               Brent Bingham                 Jeffrey Blickman
      David Boies                                Fabrizio Bonnani              Jessica Bramstedt
      Carrie Broadmerkel                         Brooke Buchanan               Steven Burd
      Tammy Burd                                 Mark Burnes                   Howard Burris
      Sarah Cabayan Chow                         John Carreyrou                Eric Caddenhead
      Xiao-Yan Cai                               Mark Campbell                 Tim Carroll
      Yung Chan                                  Shekar Chandrasekaran         Sergio Chavez
      Nianhang Chen                              Erika Cheung                  Kevin Chung
      Michael Chung                              William Clarke                Tim Cooper
      Dustin Cook                                Toby Cosgrove                 John Couvaras
      Michael Craig                              Constance Cullen              Andrea Cuppoletti
      Kingshuk Das                               Chris Davies                  Sue Desmond-Hellmann
      Rick DeVos                                 Sunil Dhawan                  Elizabeth Dickinson
      Susan DiGiaimo                             Michael Dixon                 Jennifer Dooren
      Bruce Doll                                 Matt Downs                    Dan Doyle
      Martin Drake                               Stanley Druckenmiller         Diana Dupuy
      Lisa Durkin                                Karen Dyer                    Scott Earthy
      Erin Edgar                                 Daniel Edlin                  Joel Ehrenkranz
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Alan Eisenman                 Kerry Denise Elenatinoba-Johnson   Merhl Ellsworth
JoEllen Embry                 Raymond Embry                      Susan Evans
Kendra Fadil                  Richard Fernandez                  Stan Fiorito
Kenneth Fisher                William Foege                      Season Flores
Max Fosque                    Gary Frenzel                       William Frist
Peter Fritsch                 Surekha Gangadkhedkar              Phyllis Gardner
Zubin Gautam                  Langley Gee                        Arnold Gelb
Rochelle Gibbons              Richard Gift                       Melissa Givens
Maureen Glunz                 Xinwei (Sam) Gong                  Ellie Goldberg
Robert Gordon                 Brittany Gould                     Cass Grandone
William Griffith              Brian Grossman                     Alberto Gutierrez
Nicholas Haase                Kevin Hagen                        Craig Hall
Margaret Hamburg              George Hamilton                    Adelaida Hernandez
Peyton Hobson                 Sally Hojvat                       Mary Hole
Chris Holmes                  Christian Holmes                   Elizabeth Holmes
Noel Holmes                   Cassie Hughes                      Stefan Hritsu
Terry Huff                    Kevin Hunter                       Jared Hutchings
Christopher James             Nimesh Jhaveri                     Craig Josephson
Swapna Joshi                  Penny Keller                       Yousuf Khamisani
Vivek Khanna                  Thomas Kickler                     Heather King
Henry Kissinger               Antti Korhonen                     Richard Kovacevich
Phillipe Laffont              Mark Laret                         Eileen Lepera
Erez Levy                     Courtney Lias                      Tina Lin
Steve Linnerson               Craig Lipset                       Christopher Lucas
Clarissa Lui                  Ashley Marie Mackey                Stephen Master
James Mattis                  John McChesney                     Christopher McCollow
Mindy Mechanic                Pat Mendenhall                     Seth Michelson
Wade Duvall Miquelon          Katie Moran                        Daniel Mosley
Michael Mugmon                Rupert Murdoch                     Matthew Nathan
Eileen Norkin                 Anthony Nugent                     Sam Nunn
Justin Offen                  Noam Ohana                         Patrick O’Neill
Steve O'Neill                 Sean O’Malley                      Curtis Page
Mark Pandori                  Chinmay Pangarkar                  Roger Parloff
James Patterson               Greg Penner                        William Perry
Melissa Pessin                Lisa Peterson                      Ian Pilcher
Bruce Pixley                  Meredith Potter                    Ana Quintana
Mona Badani Ramamurthy        Natalie Ravitz                     Jan Reed
Larree Renda                  Channing Robertson                 Aleksandr Rabodzkey
Brian Rodriguez               Dave Rogers                        Michael Romeo
Kimberly Romanski             Jay Rosan                          Callie Raquel Rosendin
Adam Rosendorff               Gary Roughead                      David Rusnak
Suraj Saksena                 David Satchell                     George Scavdis
Mario Scussel                 Robert Shapiro                     Tim Sheehy
David Shoemaker               Tyler Shultz                       Jeff Shuren
Gurbir Sidhu                  Seema Singh                        Kyle Sims
Sharada Sivaraman             Dee Anna Smith                     Victoria Sung
Adrienne Stewart              Serena Stewart                     Kimberly Summe
Nicole Sundene                Todd Surdey                        Edward Szmuc
Alex Taylor                   David Taylor                       Bryan Tolbert
Erin Tompkins                 Jim Topinka                        Eric Topol
Aline Tryon                   Jerry Tubergen                     Sekhar Variam
Jarod Wada                    Shane Weber                        Mike Wei
Orville Weyrich               Alexander (Xan) White              Paige Williams
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Kate Wolff                   Mike Yagi                    Denise Yam
Gary Yamamoto                Judith Yost                  Daniel Young
Audra Zachman                David Nathan Zalatan         Lisa Zuckerman




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